UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al., 1                                         )     Case No. 22-10964 (MG)
                                                                           )
                                                Debtors.                   )     (Jointly Administered)
                                                                           )

              NOTICE OF REJECTION OF CERTAIN EXECUTORY CONTRACTS

             PLEASE TAKE NOTICE that on August 17, 2022, the United States Bankruptcy Court

for the Southern District of New York (the “Court”) entered an order on the motion
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(the “Motion”) of debtors and debtors in possession (the “Debtors”), approving procedures for

the rejection, assumption, or assumption and assignment of executory contracts and unexpired

leases and granting related relief [Docket No. 517] (the “Procedures Order”).

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

in the exercise of their business judgment, that each Contract set forth on Exhibit 1 attached hereto

is hereby rejected effective as of the date (the “Rejection Date”) set forth in Exhibit 1, or such

other date as the Debtors and the counterparty or counterparties to any such Contract agree;

provided that the Rejection Date for a rejection of a lease of non-residential real property shall not

occur until the later of (i) the Rejection Date set forth in this Rejection Notice and (ii) the date the


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 USA LLC (9450); and GK8 UK
      Limited (0893). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
Debtors relinquish control of the premises by notifying the affected landlord in writing of the

Debtors’ surrender of the premises and (a) turning over keys, key codes, and security codes, if any,

to the affected landlord or (b) notifying the affected landlord in writing that the keys, key codes,

and security codes, if any, are not available but the landlord may rekey the leased premises.

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts must file and serve a written objection so that such objection is

filed with the Court on the docket of the Debtors’ chapter 11 cases and is served in accordance

with the Amended Final Order (I) Establishing Certain Notice, Case Management, and

Administrative Procedures and (II) Granting Related Relief [Docket No. 1181] on the following

parties no later than twenty-one days after the date that the Debtors served this Notice: (a) Celsius

Network LLC, 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030; Attn: Ron Deutsch;

(b) counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York,

New York 10022, Attn: Joshua A. Sussberg, P.C. and Simon Briefel, Kirkland & Ellis LLP, 300

North   LaSalle    Street,   Chicago,    Illinois       60654,   Attn:   Patrick   Nash,   Jr.,   P.C.,

Ross M. Kwasteniet, P.C., Christopher S. Koenig, and Dan Latona; (c) the U.S. Trustee, 201

Varick Street, Suite 1006, New York, New York 10014, Attn: Shara Cornell, Mark Bruh, and

Brian S. Masumoto; (d)          counsel to the official committee of unsecured creditors

(the “Committee”), White & Case LLP, 111 South Wacker Drive, Suite 5100, Chicago, Illinois

60606, Attn: Gregory F. Pesce, 1221 6th Ave, New York, New York 10020, Attn: David

Turetsky, and 555 South Flower Street, Suite 2700, Los Angeles, California 90071,

Attn: Aaron E. Colodny; and (e) to the extent not listed herein, those parties requesting notice

pursuant to Bankruptcy Rule 2002. Only those responses that are timely filed, served, and received

will be considered at any hearing.


                                                    2
        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract shall become effective on the Rejection Date set forth in Exhibit 1, or
                                                                                                                  3
such other date as the Debtors and the counterparty or counterparties to such Contract agree.

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

to consider the objection for the Contract or Contracts to which such objection relates. If such

objection is overruled or withdrawn, such Contract or Contracts shall be rejected as of the

Rejection Date set forth in Exhibit 1 or such other date as the Debtors and the counterparty or

counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors, the Committee, and the counterparty

or counterparties to such Contracts, with notice to the U.S. Trustee, otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Exhibit 1 shall be deemed abandoned as of

the Rejection Date; provided that the Debtors shall receive prior written consent from counsel to

the Committee and shall provide notice to the U.S. Trustee (email sufficient) prior to abandoning

any such personal property.




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    An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
    directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will
    be effective in accordance with this Rejection Notice and the Order.


                                                           3
       PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so by the later of (a) the claims bar

date established in these chapter 11 cases, if any, and (b) thirty days after the Rejection Date. IF

YOU FAIL TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY

THE DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED,

AND ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS

AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF

REORGANIZATION FILED IN THESE CASES ON ACCOUNT OF SUCH CLAIM, AND

(3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES

ON ACCOUNT OF SUCH CLAIM.



                           [Remainder of page intentionally left blank]




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New York, New York         /s/ Joshua A. Sussberg
Dated: February 16, 2023   KIRKLAND & ELLIS LLP
                           KIRKLAND & ELLIS INTERNATIONAL LLP
                           Joshua A. Sussberg, P.C.
                           601 Lexington Avenue
                           New York, New York 10022
                           Telephone:      (212) 446-4800
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                            - and -

                           Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                           Ross M. Kwasteniet, P.C. (admitted pro hac vice)
                           Christopher S. Koenig
                           Dan Latona (admitted pro hac vice)
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                                            chris.koenig@kirkland.com
                                            dan.latona@kirkland.com


                           Counsel to the Initial Debtors and Debtors in
                           Possession

                           Proposed Counsel to the GK8 Debtors and Debtors in
                           Possession
                                                    EXHIBIT 1

                                               Rejected Contracts


                                                                      Description of                    Rejection
      Counterparty             Debtor Counterparty                                1
                                                                         Contract                         Date
                                                                Security Alarm Monitoring
    NextGen Protection          Celsius Network LLC                                                     9/23/2022
                                                                for 8912 W. Spanish Ridge
                                                                    License for Orbitax
                                                                International Tax Platform;
    Thomson Reuters             Celsius Network LLC                                                    11/30/2022
                                                                License for Checkpoint Tax
                                                                          Software




1
     The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
     nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
     to such Contract.
